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16              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                               (San Diego)
17
18 AL OTRO LADO, Inc., et al.,               Case No. 3:17-cv-02366-BAS-KSC
19                           Plaintiffs,     DEFENDANTS’ EXHIBIT 4
20
                       v.
21
22 Chad F. WOLF, Acting Secretary of
   Homeland Security, in his official
23
   capacity, et al.,
24
25                         Defendants.
26
27
28
9/25/2020     Case 3:17-cv-02366-BAS-KSC Claims
                                             Document
                                                of Fear | U.S.563-6
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       Official website of the Department of Homeland Security



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              (https://www.linkedin.com/company/2997?trk=tyah)        (https://www.youtube.com/user/customsborderprotect)
                U.S. Customs and
                Border Protection
              (https://public.govdelivery.com/accounts/USDHSCBP/subscriber/new)
               (/)
                (/)



      Claims of Fear
      CBP Southwest Border and Claims of Credible Fear Total
      Apprehensions/Inadmissibles (FY2017 - FY2019)
                                                                  FY17                       FY18             FY19
        Total Apprehensions &
                                                                 415,517                    521,090          977,509
        Inadmissibles
        Total Claims of Credible Fear
        Apprehensions &                                          55,584                      92,959          146,660
        Inadmissibles
        CF
        Apprehensions/Inadmissibles                               13%                         18%             15%
        % of Total

      Individuals Claiming Credible Fear
      Those who are apprehended between Ports of Entry and claim credible fear are processed for
      expedited removal by U.S. Border Patrol. Those who arrive at Ports of Entry, are found inadmissible,
      and claim credible fear are processed for expedited removal by the Oﬀice of Field Operations. All
      claims of credible fear are referred to Asylum Oﬀicers of the U.S. Citizenship and Immigration Services
      (USCIS).
      Under the Expedited Removal Provisions, an agent or oﬀicer takes the applicant's sworn statement,
      including asking four questions regarding any fear the alien may have of returning to his or her home
      country and the potential of being harmed. During Expedited Removal proceedings, detainees are
      questioned regarding any fear they may have of returning to their country of origin, to ensure that
      each detainee is aﬀorded the ability to articulate claims of fear. Those questions are:
            1. Why did you leave your home or country of last residence?

https://www.cbp.gov/newsroom/stats/sw-border-migration/claims-fear                                                          1/3
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            2. Do you have any fear or concern about being returned to your home country or being removed from
               the United States?
            3. Would you be harmed if you are returned to your home country or country of last residence?
            4. Do you have any questions or is there anything else you would like to add?
      CBP Agents and Oﬀicers have no discretion as to whether or not to refer an alien for a credible fear
      interview. CBP Agents and Oﬀicers do not make any determination on the validity of such claims and
      refer the person for an interview with a USCIS Asylum Oﬀicer.
      Note: Figures are accurate as of October 2019 and are subject to variances based on the adjudication
      of cases.
      U.S. Border Patrol Southwest Border Apprehensions (FY2017 -
      FY2019)
             Southwest Border                           FY17              FY18                    FY19
        Total Apprehensions                           303,916           396,579                  851,508
        Total Claims of
        Credible Fear                                  38,300            54,690                  66,605
        Apprehensions
        CF Apprehensions % of                            13%              14%                      8%
        Total
      For breakdown by Sector, visit USBP Claims of Credible Fear Apprehensions by Sector
      (/newsroom/stats/sw-border-migration/claims-fear/apprehensions-sector).
      Office of Field Operations Southwest
      Border Inadmissibles (FY2017 - FY2019)
             Southwest Border                           FY17              FY18                    FY19
        Total Inadmissibles                           111,275           124,876                  126,001
        Total Claims of
        Credible Fear                                  17,284            38,399                  80,055
        Inadmissibles
        CF Inadmissibles % of                            16%              31%                     64%
        Total
      For breakdown by Field Oﬀice, visit Southwest Border Claims of Credible Fear Inadmissibles by Field
      Oﬀice (/newsroom/stats/sw-border-migration/claims-fear/inadmissibles-field-oﬀice).



https://www.cbp.gov/newsroom/stats/sw-border-migration/claims-fear                                               2/3
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